      Case 1:13-cr-00280-AT-JFK Document 251 Filed 02/23/17 Page 1 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 JUAN MANUEL SANTANA BAEZ,
                    Movant,                          1:13-cr-280-WSD
       v.                                             1:16-cv-2771-WSD
 UNITED STATES OF AMERICA,
                    Respondent.


                             OPINION AND ORDER

      This matter is before the Court on Magistrate Judge Janet F. King’s Final

Report and Recommendation [241] (“R&R”). The R&R recommends the Court

dismiss as untimely Movant Juan Manuel Santana Baez’s (“Movant’s) 28 U.S.C.

§ 2255 motion [238] to challenge the constitutionality of his conviction and

sentence (“Section 2255 Motion”). Also before the Court are Movant’s Objections

to the R&R [244].

I.    BACKGROUND

      Movant pleaded guilty to conspiracy to distribute and possess with intent to

distribute cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(A)(ii), a

crime subject to up to a life term of imprisonment. (Indictment [1] at 1-2; [176.1]

at 3). On December 15, 2014, the Court imposed a seventy-month term of
         Case 1:13-cr-00280-AT-JFK Document 251 Filed 02/23/17 Page 2 of 8




imprisonment. ([219]). The record shows Movant did not file a direct appeal. On

July 25, 2016, Movant filed his Section 2255 Motion. Movant asserts that he is

entitled to a two-level role reduction based on the November 15, 2015, sentencing

guidelines amendment that amended the commentary to U.S.S.G § 3B1

(“Amendment 794”). Movant asserts that his Section 2255 motion was timely

filed within one-year of the amendment. (Mot. to Vacate at 1).

         On September 1, 2016, the Magistrate Judge issued her R&R. The

Magistrate Judge found that Movant’s Section 2255 Motion was due by

December 29, 2015, and his Motion is untimely by over six months. The

Magistrate Judge found that equitable tolling does not apply. She also determined

that Movant’s claim is not cognizable under Section 2255. Accordingly, the

Magistrate Judge recommends that the Court dismiss as untimely Movant’s

Section 2255 Motion, and that a certificate of appealability (“COA”) be denied.

         On September 12, 2016, Movant filed his Objections. Movant argues that

equitable tolling applies, because Amendment 794 “did not go into effect until

November 15, 2015, Eleven [sic] months after Movant was sentenced.” (Obj. at

1). He claims he did not receive notice of Amendment 794 until July 10, 2016.

(Id.).




                                         2
      Case 1:13-cr-00280-AT-JFK Document 251 Filed 02/23/17 Page 3 of 8




II.   DISCUSSION

      A.     Legal Standard

      After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a magistrate

judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Williams

v. Wainwright, 681 F.2d 732, 732 (11th Cir. 1982) (per curiam). A district judge

“shall make a de novo determination of those portions of the report or specified

proposed findings or recommendations to which objection is made.” 28 U.S.C.

§ 636(b)(1). Where no party has objected to the report and recommendation, the

Court conducts only a plain error review of the record. United States v. Slay,

714 F.2d 1093, 1095 (11th Cir. 1983) (per curiam).

      B.     Analysis

      The Court first conducts its plain error review of those portions of the R&R

to which Movant does not object. See Slay, 714 F.2d at 1095. A Section 2255

motion is subject to the one-year statute of limitations provided by 28 U.S.C.

§ 2255(f). The one-year period runs from the latest of the dates on which

(1) Movant’s convictions became final; (2) a State impediment to filing a motion to

vacate was removed; (3) a constitutional right on which Movant relies was

recognized by the United States Supreme Court, if the right has been newly



                                         3
      Case 1:13-cr-00280-AT-JFK Document 251 Filed 02/23/17 Page 4 of 8




recognized and made retroactively applicable to cases on collateral review; or (4)

Movant, with due diligence, could have discovered the facts supporting his claims.

See 28 U.S.C. § 2255(f)(1)-(4).

      The Magistrate Judge found that, because Movant did not directly appeal,

his federal conviction became final on December 29, 2014, fourteen days after the

entry of judgment on December 15, 2014. See Fed. R. App. P. 4(b)(1)(A). Under

Section 2255(f)(1), Movant’s Section 2255 Motion was due by December 29,

2015, and his Motion is untimely by over six months. The Magistrate Judge found

that Section 2255(f)(2) does not apply, because Movant does not allege any

unlawful government impediment that prevented him from filing his Section 2255

Motion earlier. The Magistrate Judge next determined that Section 2255(f)(3) does

not apply, because Movant does not present any right newly recognized by the

United States Supreme Court. The Magistrate Judge found that Section 2255(f)(4)

does not apply because a guidelines amendment does not qualify as a supporting

fact to a claim for relief. See Madaio v. United States, 397 F. App’x 568, 570

(11th Cir. 2010) (“Since Section 2255(f)(4) is predicated on the date that ‘facts

supporting the claim’ could have been discovered, the discovery of a new court

legal opinion, as opposed to new factual information affecting the claim, does not

trigger the limitations period.” (emphasis in original) (quoting § 2255(f)(4)));


                                          4
      Case 1:13-cr-00280-AT-JFK Document 251 Filed 02/23/17 Page 5 of 8




Thomas v. United States, No. 2:09-CR-00277-RDP-JE, 2014 WL 4715861, at *4

(N.D. Ala. Sept. 22, 2014) (“The limitations period of § 2255(f)(4) is triggered by

the actual or imputed discovery of the important facts underlying a claim, not the

defendant’s recognition of the legal significance of those facts.”); Seals v. United

States, No. 08-cv-80, 2009 WL 1108482, at *2 (S.D. Ill. Apr. 24, 2009). The

Court finds no plain error in these findings and recommendations. See Slay,

714 F.2d at 1095.

      The Magistrate Judge found that Movant does not show that he is entitled to

equitable tolling, because a change or amendment to existing sentencing guidelines

does not constitute an extraordinary circumstance justifying equitable tolling of the

AEDPA statute of limitations. Movant objects to this finding, arguing that

Amendment 794 “did not go into effect until November 15, 2015, Eleven [sic]

months after Movant was sentenced.” (Obj. at 1). He claims he did not receive

notice of Amendment 794 until July 10, 2016. (Id.). AEDPA’s one-year statute of

limitations is subject to equitable tolling if the petitioner “shows (1) that he has

been pursuing his rights diligently, and (2) that some extraordinary circumstance

stood in his way and prevented timely filing.” San Martin v. McNeil, 633 F.3d

1257, 1267 (11th Cir. 2011) (quoting Holland v. Florida, 130 S. Ct. 2549, 2562

(2010)) (internal quotation marks omitted). Movant does not provide any authority


                                           5
      Case 1:13-cr-00280-AT-JFK Document 251 Filed 02/23/17 Page 6 of 8




to support that changes or amendments to existing sentencing guidelines constitute

an extraordinary circumstance justifying equitable tolling of the AEDPA statute of

limitations. See United States v. Snyder, No. 1:99-cr-11, 2008 WL 370663, at *2

(N.D. Ind. Feb. 11, 2008). The Court finds Movant is not entitled to equitable

tolling of the one-year statute of limitations, and his Section 2255 Motion is

dismissed as untimely.

      Even if equitable tolling applied, Amendment 794 does not entitle Movant to

resentencing. The Amendment merely “clarified the factors to consider for a

minor-role adjustment”—it did not substantively change Section 3B1.2. United

States v. Casas, 632 F. App’x 1003, 1004 (11th Cir. 2015); Sapp v. United States,

2016 WL 4744159, at *1 (S.D. Ga. Sept. 12, 2016); see also United States

v. Quintero-Leyva, 823 F. 3d 519, 523 (9th Cir. 2016) (Amendment 794 may be

applied retroactively on direct appeals). Indeed, the Sentencing Commission

specifically explained that Amendment 794 is intended only as a clarifying

amendment. U.S.S.G. Supp. App. C, Amend. 794 (Reason for Amend.) (“This

amendment provides additional guidance to sentencing courts in determining

whether a mitigating role adjustment applies”).

      Movant relies on Burke v. United States, 152 F.3d 1329 (11th Cir. 1998) to

support his argument that a clarifying amendment to the Sentencing Guidelines


                                          6
      Case 1:13-cr-00280-AT-JFK Document 251 Filed 02/23/17 Page 7 of 8




may be given retroactive application in post-conviction proceedings if a failure to

do so constitutes a complete miscarriage of justice. In Burke, the petitioners did

not file a direct appeal. Burke, 152 F.3d at 1331. After sentencing, the Sentencing

Commission added a clarifying amendment to the Guidelines, and the petitioners

moved under Section 2255 to modify their sentences based on the change. Id. The

Eleventh Circuit found that, because “§ 2255 is not a substitute for direct appeal,”

nonconstitutional claims such as clarifying amendments to the Guidelines “can be

raised on collateral review only when the alleged error constitutes a ‘fundamental

defect which inherently results in a complete miscarriage of justice [or] an

omission inconsistent with the rudimentary demands of fair procedure.’” Id.

(quoting Reed v. Farley, 512 U.S. 339, 348 (1994)).

      “Insofar as amendment [794] is a clarifying amendment effecting no change

in the substantive law,” Movant “was afforded the opportunity to” challenge the

denial of a minor role adjustment “at his original sentencing and on direct appeal.”

Id. at 1332. He did not. “Considering all of the circumstances, [the Court] cannot

say that the alleged misapplication of the sentencing guidelines in this case was

fundamentally unfair or that it constituted a miscarriage of justice sufficient to

form the basis for collateral relief.” Id.




                                             7
       Case 1:13-cr-00280-AT-JFK Document 251 Filed 02/23/17 Page 8 of 8




       Accordingly, Movant’s Section 2255 Motion is dismissed as untimely. The

Magistrate Judge recommends the Court deny a COA. The Court finds no plain

error in this finding and recommendation. See Slay, 714 F.2d at 1095.

III.   CONCLUSION

       For the foregoing reasons,

       IT IS HEREBY ORDERED that Magistrate Judge Janet F. King’s Final

Report and Recommendation [241] is ADOPTED.

       IT IS FURTHER ORDERED that Movant’s Objections to the R&R [244]

are OVERRULED.

       IT IS FURTHER ORDERED that Movant’s 28 U.S.C. § 2255 motion

[238] is DISMISSED.

       IT IS FURTHER ORDERED that a certificate of appealability is

DENIED.



       SO ORDERED this 23rd day of February, 2017.




                                        8
